       Case 18-14164-KHK Doc 15-3 Filed 03/07/19 Entered 03/07/19 10:24:25 Desc
Department of Defense ManpowerExhibit(s)
                               Data Center
                                         DOD Search Page 1 of 2       Results as of : Mar-06-2019 11:44:10 AM

                                                                                                                                                                                         SCRA 4.10




SSN:                          XXX-XX-9498
Birth Date:
Last Name:                    STONE
First Name:                   ALAN
Middle Name:
Status As Of:                 Mar-06-2019
Certificate ID:               VJ7XKJYYY0LG6TJ

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
              Case 18-14164-KHK                   Doc 15-3          Filed 03/07/19           Entered 03/07/19 10:24:25                     Desc
The Defense Manpower Data Center (DMDC) is anExhibit(s)
                                                organization ofDOD      Searchof Defense
                                                                 the Department           Page(DoD) 2 ofthat2maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
